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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

                                 Case 1:19-cv-00038-MW-GRJ

CAPAL BEASLEY,

               Plaintiff,

v.

CENTRAL FLORIDA CONTRACTORS SERVICES, INC.,
a Florida for-profit corporation, and, BOBBY J. POWELL, JR.,
an individual,

            Defendants.
________________________________________________/

            NOTICE OF STRIKING/WITHDRAWING DOCKET ENTRY # 13

       The Plaintiff, by and through counsel strikes/withdraws docket entry # 13 (Motion to

Compel). The Plaintiff will re-file the document.

                                             Respectfully submitted,

                                             /s Peter Bober
                                             PETER J. BOBER
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 2, 2019, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

this day on all counsel of record or pro se parties identified on the attached Service List in the

manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
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or in some other authorized manner for those counsel or parties who are not authorized to receive

electronically Notices of Electronic Filing.

                                                    /s Peter Bober


                                         SERVICE LIST

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